Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DEBORAH OSBORNE,
Plaintiff,
v. No. 2:19-cv-00588
JURY TRIAL DEMANDED
LUIS GONZALES,

U.S. DEPARTMENT OF HOMELAND
SECURITY, U.S. CUSTOMS AND BORDER PROTECTION,
AND U.S. BORDER PATROL.

Defendant.

PROOF OF SERVICE

I, Andrew Armijo, declare:

1, Tam a citizen of the United States and am over the age of eighteen. I am not a party to the
above-captioned action. The following facts are within my knowledge and, if called to

testify as a witness, I would testify competently thereto.

2. On July 3, 2019, I served true and correct copiers of the Summons with addendum, Civil
Case Cover Sheet, Plaintiffs, Original Complaint, and Notice of Assignment to Judge in
the above captioned action, via the United States Postal Service, Certified Mail, to the

following:

Luis Javier Gonzales
4649 Loma De Indios Ln
Ei Paso, TX 79934

U.S. Department of Homeland Security
Office of General Counsel

Mail Stop 0485

245 Murray Lane SW

Washington, DC 20528-0485

U.S. Customs and Border Protection
Office of General Counsel

1300 Pennsylvania NW
Washington, DC 20229

U.S. Border Patrol

Office of General Counsel
1300 Pennsylvania NW
Washington, DC 20229
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 2 of 16

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct. Executed this 3" day of July 2019, in Las Cruces, NM.

Andrew Armijo
Samuel I. Kane P.A.
1018 E. Amador Ave.
Las Cruces, NM 88001
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 3 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of New Mexico FI

DEBORAH OSBORNE,

 

Plaintiffs)
V.

LUIS GONZALES,
U.S. DEPARTMENT OF HOMELAND SECURITY,
U.S. CUSTOMS AND BORDER PROTECTION, AND
U.S. BORDER PATROL

Civil Action No, 19-CV-00588

 

Defendantts)

SUMMONS IN A CIVIL ACTION

LUIS JAVIER GONZALES

4649 LOMA DE INDIOS LN

EL PASO, TX 79934

(SEE ATTACHED ADDENDUM FOR ADDRESSES OF REMAINING DEFENDANTS)

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a){2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: SAMUEL |. KANE

NM BAR#21790

1018 E. AMADOR AVE,
LAS CRUCES, NM 88001
(575) 526-5263
sam_kane@yahoo.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

Date: Thursday, June 27, 2019

 
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 4 of 16

AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2}
Civil Action No. 198-CV-00588

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

C} I personally served the summons on the individual at (piace)

On (date) 5 or

O1 I left the summons at the individual’s residence or usual place of abode with (name)
, 4 person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

CO I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

I returned the summons unexecuted because :or
O1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 i

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and tile .

 

Server’s address

Additional information regarding attempted service, etc:
Case 2:19-cv-00588-CG-GJF Document 4

Summons — Addendum
Osborne v. Gonzales et. al.
2:19-cv-00588

Defendants’ names and Addresses

U.S. Department of Homeland Security
Office of General Counsel

U.S. Department of Homeland Security
Mail Stop 0485

245 Murray Lane SW

Washington, DC 20528-0485

U.S. Customs and Border Protection
Office of Chief Counsel
U.S. Customs and Border Protection
1300 Pennsylvania NW
Washington, DC 20229

U.S. Border Patrol

Office of Chief Counsel

U.S. Customs and Border Protection
1300 Pennsylvania NW
Washington, DC 20229

Filed 07/03/19 Page 5 of 16
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 6 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DEBORAH OSBORNE,
Plaintiff,
Vv. No.
JURY TRIAL DEMANDED
LUIS GONZALES,

U.S. DEPARTMENT OF HOMELAND

SECURITY, U.S. CUSTOMS AND BORDER PROTECTION,

AND U.S. BORDER PATROL.

Defendant.
PLAINTIFFS’ ORIGINAL COMPLAINT
COMES NOW the Plaintiff, Deborah Osborne, by and through counsel of record, Law
Offices of Samuel I. Kane, P.A. (Samuel I. Kane) and Moss Legal Group, PLLC (M. Mitchell
Moss) and for her Original Complaint hereby states:
A. PARTIES

1. Plaintiff, Deborah Osbome, an individual, is a citizen of the State of New Mexico residing in
Otero County, New Mexico.

2. Defendant, Luis Gonzales, is a citizen of the State of Texas, County of El Paso. At the time of
incident which is the subject matter of this case Defendant was an on-duty Border Patrol
Officer acting in the course and scope of his duties who may be served with process at 4649
Loma De Indios LN, El Paso, Texas, 79934, or at any other address where he may be found.

3. The Department of Homeland Security (hereinafter “DHS”) is a cabinet department of the

United States federal government with responsibility for, among other things, control over

United States Customs and Border Protection and United States Border Patrol.
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 7 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 2 of 7

4. United States Customs and Border Protection (hereinafter “CBP”) is a federal law enforcement
agency within DHS. CBP officers were the supervisors of US Border Patrol as they are a
division of CBP.

5. United Siates Border Patrol (hereinafter “BP”) is 2 security force within CBP. Border Patrol
officers were supervising and in control of Defendant Gonzales at the time of the incident.

B. JURISDICTION

6. This Court has jurisdiction over the lawsuit under 28 U.S.C § 1346(b)(1) because this case
involves a civil action against the United States and its employee, for money damages, accruing
on and after January 1, 1945, for injury, or personal injury or death caused by the negligent or
wrongful act or omission of Defendant Gonzales, an employee of the United States while
acting within the scope of his office or employment, under circumstances where the United
States, if a private person, would be liable to the claimant in accordance with the law of the
place where the act or omission occurred.

7. Plaintiff previously submitted her claim to Defendants as required by 26 U.S.C. § 2675 and
such claim was finally denied as reflected in correspondence dated May 14, 2019, attached
hereto as Exhibit A. Suit has been timely filed.

C. VENUE

8. Venue is proper in this district under 28 U.S.C. § 1402(a)(1) because Plaintiff Deborah
Osborne at all material times was a resident of Otero County, New Mexico. Moreover venue
is proper under 28 U.S.C. § 1402(b) because all acts and omissions which form the basis of
this Original Complaint occurred in Otero County, New Mexico.

D. FACTS
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Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 8 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 3 of 7

This lawsuit results from a vehicle-pedestrian collision that occurred on June 26, 2018, in
Alamogordo, Otero County, New Mexico at the intersection of East 10 Street and Oregon
Avenue.
At the time of the accident Deborah Osborne was walking South on Oregon Avenue at the
intersection of Oregon Ave. and 10% Street and she had the right-of-way as she was walking
in a designated crosswalk with flashing indicators. Meanwhile Defendant, Luis Gonzales,
while in the course and scope of his employment as an employee of the USBP, was driving a
USBP marked vehicle displaying a DHS license plate number 2706276 travelling East on 10%
St. at the Intersection of Oregon Ave. and 10% St.
E. COUNT 1 - NEGLIGENCE

At all times relevant to the allegations of this Complaint Defendant Gonzales had a duty to act
as a reasonable and prudent driver and exercise reasonable care in the operation of his vehicle.
Defendant Gonzales breached this duty and was negligent, such negligence including but not
limited to the following:

a. Failing to timely apply his brakes;

b. Failing to maintain a proper lookout;

¢. Take evasive action to avoid colliding with a pedestrian;

d. Driving his vehicle at an excessive rate of speed under the

circumstances;

e. Careless driving;

f. Failing to yield to a pedestrian with the right of way.
As a direct and proximate result of Defendant Gonzales’ negligence, Plaintiff suffered

injuries and damages, which include, but are not limited to, the following:

 
Case 2:19-cv-00588-CG-GJF Document4 Filed 07/03/19 Page 9 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 4 of 7

a. Physical pain and mental anguish in the past and future.
b. Lost earnings.

c. Lost earning capacity.

d. Disfigurement,

e. Physical impairment in the past and future.

f. Medical expenses in the past and future.

g. Loss of enjoyment of life.

F, COUNT 2— NEGLIGENCE PER SE

 

13. Plaintiff realleges and incorporates all preceding allegations contained in this Complaint as
fully set forth herein.

14. At the time of the accident, Agent Gonzales was operating his vehicle in violation of New
Mexico statutes and ordinances. Agent Gonzales was cited for two violations, however,
pursuant to New Mexico law he violated other Traffic laws including, but not limited to:

a. Careless Driving.

b. Fail to Yield to Pedestrians Right of Way.
c. Speeding.

d. Failing to keep a proper lookout.

e. Due Care Collision.

15. Agent Gonzales’ violation of existing statutes and ordinances in effect at the time of the subject
accident constitutes negligence per se and proximately caused injuries and damages to
Deborah Osbourne.

G. COUNT 3 — RESPONDEAT SUPERIOR
16.

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Case 2:19-cv-00588-CG-GJF Document 4 Filed 07/03/19 Page 10 of 16
Case 2'19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 5 of 7

Plaintiff realleges and incorporates all preceding allegations contained in this Complaint as
fully set forth herein.

At all times material to the allegations contained herein Defendant Gonzales was acting in the
course and scope of his employment for the United States Border Patrol through US Customs
and Border Protection by and through The Department of Homeland Security. Under the
doctrine of respondeat superior, The Department of Homeland Security, US Customs and
Border Protection, and US Border Patrol are liable for the acts and/or omissions of Defendant

Gonzales.

H. COUNT 4— NEGLIGENT HIRING, TRAINING, SUPERVISION. _and
ENTRUSTMENT

Department of Homeland Security (DHS), US Customs and Border Protection (CBP) and
United States Border Patrol (USBP) were negligent in hiring, training, supervising, and in
entrusting a vehicle to Agent Gonzales. DHS, CBP and USBP failed to reasonably qualify
Agent Gonzales prior to hiring him; failed to reasonably train Agent Gonzales before allowing
him to drive; failed to reasonably supervise Agent Gonzales while operating vehicles; and
negligently entrusted Agent Gonzales with a vehicle.
DHS, CBP and USBP negligent hiring, training, supervising, and entrustment proximately
caused Plaintiff's injuries and damages.
I. DAMAGES

As a direct and proximate result of Defendants’ negligence, Plaintiff suffered injuries and
damages, which include, but are not limited to, the following:

a. Physical pain and mental anguish in the past and future.

b. Lost earnings.

c. Lost earning capacity in the past and future.
Case 2:19-cv-00588-CG-GJF Document 4 Filed 07/03/19 Page 11 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 6 of 7

d. Disfigurement in the past and future.
e. Physical impairment in the past and future.
f, Medical expenses in the past and future.
g. Loss of enjoyment of life.
21. Plaintiff also seeks to recover all damages, prejudgment interest, post judgment interest, and
court costs.
J. JURY DEMAND
K. Plaintiff Deborah Osborne hereby requests a trial by jury in connection with this matter
pursuant to Rule 38(b) of the Federal Rules of Civil Procedure.
L. PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff, Deborah Osborne, pray that
Defendants Luis Gonzales, Department of Homeland Security, US Customs and Border
Protection, and United States Border Patrol, be cited to appear and answer herein, and this cause
be set for trial before a jury, and Plaintiffs recover judgment of and from Defendants for her
damages in such amount as the evidence may show and the jury may determine to be proper,
together with prejudgment and post-judgment interest, and for such other and further relief, both
general and specific, at law or in equity, to which Plaintiff may be justly entitled, and for any and

all other relief this Court deems appropriate.
Case 2:19-cv-00588-CG-GJF Document 4 Filed 07/03/19 Page 12 of 16
Case 2:19-cv-00588-CG-GJF Document1 Filed 06/26/19 Page 7 of 7

Respectfully Submitted,

/s/ M. Mitchell Moss
Mitchell Moss

NM Bar #7477

5845 Cromo Dr., Suite 2
El Paso, Texas 79912
Main: 915.703.7307
Direct: 915.703.7308
Fax: 915.703.7618

ts/ Samuel I, Kane
Samuel I. Kane

NM Bar #21790

1018 E. Amador Ave.
Las Cruces, NM 88001
(575) 526-5263

(575) 647-5264 Fax
Case 2:19-cv-00588-CG-GJF Document 4 Filed 07/03/19 Page 13 of 16

Case 2:19-cv-00588-CG-GJF Document 2_ Filed 06/26/19 P
S44 (Rev. 0219) CIVIL COVER SHEET age 1 of 2

The $$ 44 civil cover shee! and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law. except as
provided by loca! rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

 

 

 

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM}
I. (a) PLAINTIFFS DEFENDANTS
Osborne Deborah
(b} County of Residence of First Listed Plaintiff Otero County of Residence of First Listed Defendant _ _
(EXCEPT IN U8. PLAINTIFF CASES) UN ELS. PLAINTIFF CASES ONLY}
NOTE: IN LAND CONDEMNATION CASES. USE THE LOC .47IGN OF
THE TRACT OF LAND INVOLVED.

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915-703-7307
Samuet |. Kane PA. 1018 E. Amador Ave. Las Cruces, NM 88001

 

 

I. BASIS OF JURISDICTION ¢Piace an “X” in One Bax Oniy) WWE. CITIZENSHIP OF PRINCIPAL PARTIES (piace oni “x” in One Box for Plaiatif
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VI. CAUSE OF ACTION f-- rT "
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VII. REQUESTED IN 6 CHECKIFTHISISACLASSACTION | DEMANDS CHECK YES only if demanded in complaint:
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:19-cv-00588-CG-GJF Document 4 Filed 07/03/19 Page 14 of 16
Case 2:19-cv-00588-CG-GJF Document? Filed 06/26/19 Page 2 of 2

3844 Reverse (Rev. 02/14)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law. except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974. is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet, Consequently, a civil cover sheet is submilted to the Clerk of
Court for each civil complaint filed. The atiomey filing a case should complete the form as follows:

L{a)

(b)

(c)

ii.

IV.

Vill.

Plaintiffs-Defendants. Enter names (last, first. middle initial) of plaintiff and defendant. [f the plaintiff or defendant is 2 government agency. use
only the full name or standard abbrevialions. If the plaintiff or defendant is an official within s goverament agency. identify firsi ihe agency and
then the official. giving both name and title.

County of Residence, For cach civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In ULS, plaintiff cases, enter the name of the county in which the first Jisted defendant resides at the time of filing. (NOTE: In land
condemnation cases. the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys, Enter the firm name, address, telephone number, and attomey of record. If there are several attorneys, list them on an attachment, noting
in this seclion "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X”
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below,

United Stales plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348, Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintitf is suing the United States. its officers or agencies. place an "XK" in this box.

Federal question. (3) This refers to suits under 28 U.S.C, 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution. an act of Congress or a treaty of the United States, Jn cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where partes are citizens of different states, When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Prinelpal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit, Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case. pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Gode Descriptions.

Origin. Place an "X" in one of the seven boxes,

Original] Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court, (2) Proceedings initiated m state courts may be removed to the district courts under Title 28 U.S.C, Section 1441,
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a), Do not use this for within district transfers or
multidisirict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a moliidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite Jurisdictional
statutes unless diversity. Example: US. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are fiting a class action under Rule 23, F.R.Cv.P,
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the sppropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if'any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date aud sign the civil cover sheet.
2/2019 jon v6.2.2 -Perso!
“” Case 2:19-cv-00588-CG-GIJE Document 4 Filed 0963/19 Page 15 of 16

Full docket text:
United States Magistrate Judge Carmen E. Garza and United States Magistrate Judge Gregory J. Fouratt assigned. (jg)

PACER Service Center
Transaction

07/02/2019 08:35:20
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19-cy-00588-CG-

 

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—_ Case 2:19-cv-00588-CG-GJF Docuiient 4 Filed 0703/19 Page 16 of 16

Full docket text for document 3:

PLEASE TAKE NOTICE that this case has been randomly assigned to United States Magistrate Judge Carmen E. Garza to conduct dispositive
proceedings in this matter, including motions and trial. Appeal from a judgment entered by a Magistrate Judge will be to the United States Court of
Appeals for the Tenth Circuit. It is the responsibility of the case filer to serve a copy of this Notice upon all parties with the sammons and
complaint. Consent is strictly voluntary, and a party is free to withhold consent without adverse consequences, Should a party choose to consent, notice
should be made no later than 21 days after entry of the Order setting the Rule 16 Initial Scheduling Conference. For e-filers, visit our Web site at
www.aimd.uscourts.gov for more information and instructions.

[THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED. ] (ig)

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Transaction
07/02/2019 08:35:36

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:19-cv-00588-CG-

 

 

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